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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     CENTRAL DIVISION
                                       at LEXINGTON

CRIMINAL ACTION NO. 09-CR-181-KKC


UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                          MEMORANDUM OPINION AND ORDER

MEGAN COFFMAN,                                                                           DEFENDANT

                                       *** *** *** ***

        This matter is before the Court on Defendant Megan Coffman’s motion to dismiss based on

the alleged unconstitutionality of 18 U.S.C. §§ 1956 and 1957 (DE 115). This motion has been fully

briefed and is ripe for a decision. For the reasons set forth below, the Court will deny the

Defendant’s motion.

I.      BACKGROUND

        Defendant Megan Coffman was charged in a multi-count superseding indictment along with

a number of codefendants, including her husband, Bryan Coffman, an attorney (DE 44). Megan

Coffman is named only in counts twenty through thirty-two. Count twenty alleges a conspiracy

pursuant to 18 U.S.C. § 1956(h); count twenty-one alleges money laundering pursuant to 18 U.S.C. §

1956(a)(1)(B)(i); and counts twenty-two through thirty-two allege money laundering pursuant to 18

U.S.C. §§ 1956(a)(1)(A)(i) and 1956(a)(1)(B)(i).

        The Government alleges that Megan Coffman conducted financial transactions which

involved the proceeds of specified unlawful activity–specifically, mail and wire fraud committed by

Bryan Coffman. However, Megan Coffman argues that any such financial transactions involved

bank accounts containing both lawful funds from Bryan Coffman’s law practice and allegedly

unlawful funds from his mail and wire fraud. Accordingly, Megan Coffman claims that since she “is
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not alleged to have been involved in any of the underlying mail and wire fraud, she could not have

distinguished between the lawful and/or unlawful funds” when she conducted the subject financial

transactions. Based on this factual scenario, Megan Coffman argues that the money laundering

statutes deprive her of her due process liberty right to conduct financial transactions, are

unconstitutionally overbroad, are void for vagueness, and led to her being selectively prosecuted.

The Court considers each of these arguments in turn.

II.     ANALYSIS

        A. Due Process Claim

        The Defendant first argues that the money laundering statutes “unconstitutionally infringe

upon Coffman’s and other similarly situated individuals’ liberty rights to conduct lawful

transactions, including financial transactions, with money that may have been co-mingled with

unlawful [sic] obtained funds.” (DE 115). However, the Defendant provides no legal support for the

notion that she has a due process right to conduct financial transactions with money that may have

been co-mingled with the proceeds of alleged specified unlawful activity by Bryan Coffman.

        The Defendant may be implying that the Government must trace the funds involved in her

alleged financial transactions under § 1956 to the specific allegations of mail and wire fraud against

Bryan Coffman or else she is denied fundamental due process (DE 115). However, the Sixth Circuit

has recognized that “the circuits have almost unanimously held that § 1956 money-laundering

charges do not require the government to trace the monies to specific unlawful activity.” United

States v. Jamieson, 427 F.3d 394, 404 (6th Cir. 2005) (citing United States v. Bencs, 28 F.3d 555,

562 (6th Cir. 1994)). In other words, “not all of the money involved in the transactions must be

derived from the unlawful activity. When money from illegal sources is co-mingled with money

from unspecified other sources, ‘all such funds are attributable to the money laundering scheme.’”


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Jamieson, 427 F.3d at 404 (quoting United States v. Owens, 159 F.3d 221, 229 (6th Cir. 1998)).

Furthermore, despite the Defendant’s speculation, the Government may prove at trial that there is no

co-mingling problem and that the Defendant’s alleged financial transactions involved only the

proceeds of the alleged specified unlawful activity by Bryan Coffman. For all of these reasons, the

Court rejects the Defendant’s vague due process claim.

        B. Overbreadth Challenge

        The Defendant next argues, without citing applicable case law, that the money laundering

statutes are unconstitutionally overbroad (DE 115). Although the Defendant claims that she and

other similarly situated individuals “could be charged and convicted of money laundering under 18

U.S.C. §§ 1956 and 1957 based on mere suspicion or, perhaps, negligence,” her alleged conduct

involves financial transactions which are not subject to an overbreadth challenge.

          According to the Sixth Circuit, “[a] statute is overbroad when it includes within its

prohibitions activities that are constitutionally protected.” Connection Distributing Co. v. Reno, 154

F.3d 281, 292 (6th Cir. 1998) (citing Grayned v. City of Rockford, 408 U.S. 104 (1972)). However,

“facial constitutional challenges relying on the overbreadth doctrine, and the resultant chilling effect

such overbreadth has on speech, are limited to the First Amendment sphere.” Grendell v. Ohio

Supreme Court, 252 F.3d 828, 834 (6th Cir. 2001) (citations omitted). Furthermore, the Sixth

Circuit has recognized that a challenge to money laundering under 18 U.S.C. § 1956 “does not

implicate the First Amendment.” United States v. Johnson, 1992 WL 162562, *1 (6th Cir. 1992);

see also United States v. Kaufman, 985 F.2d 885, 895 (7th Cir. 1993) (citing case law which holds

that money laundering “is not open to an overbreadth analysis”). Accordingly, since § 1956 does not

implicate constitutionally protected conduct, the Court rejects the Defendant’s argument that the

money laundering statutes are unconstitutionally overbroad.


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         C. Void for Vagueness Challenge

         The Defendant next argues, without citing applicable case law, that the money laundering

statutes are void for vagueness “since ordinary individuals, such as Coffman, are not provided

sufficient notice of what conduct is prohibited and, therefore, [the statutes] may lead to arbitrary and

discriminatory enforcement.” (DE 115). However, the Defendant’s argument is premature.

         According to the Sixth Circuit, “[t]he vagueness of statutes that do not threaten first

amendment interests is examined in light of the case at hand.” United States v. Loehr, 966 F.2d 201,

204 (6th Cir. 1992); see also Johnson, 1992 WL 162562, at *1. Therefore, this Court must judge the

money laundering statutes for vagueness “in [their] application in this case.” Johnson, 1992 WL

162562, at *1; see also United States v. Jackson, 935 F.2d 832, 838 (7th Cir. 1991) (noting that the

money laundering statutes are judged for vagueness “on an as-applied basis”). Accordingly, the

Court finds that it cannot determine whether the money laundering statutes are void for vagueness as

applied to the Defendant until the Government puts on its case-in-chief. Thus, the Court will deny as

premature the Defendant’s argument that the money laundering statutes are void for vagueness.1



         D. Selective Prosecution Claim

         Finally, the Defendant claims that she was unfairly selected for prosecution in this case (DE

115). Specifically, the Defendant alleges that the Government charged her with money laundering

because Bryan Coffman refused to plead guilty, because of the significant imprisonment and

forfeiture penalties, and in hopes of turning her into a witness against her husband (DE 115).


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           The Court notes for the record that the Defendant cites no case law which holds that the money laundering
statutes are void for vagueness, either on their face or as applied in another case. However, the Court is aware that the
Sixth Circuit has found that the money laundering statutes are not unconstitutionally vague. See e.g., Loehr, 966 F.2d
at 204; Johnson, 1992 W L 162562, at *1 (“we follow the Seventh Circuit which has examined the money laundering
statute, 18 U.S.C. § 1956, and found it constitutional”).

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However, the Defendant provides no legal support for her assertions.

        According to the Sixth Circuit, “[t]he standard a defendant asserting selective prosecution

must meet to establish at least a prima facie case is that [she] has been singled out while similarly

situated violators are left untouched and that [her] selection was unfairly discriminatory or made in

bad faith.” United States v. McMullen, 755 F.2d 65, 66 (6th Cir. 1984); see also United States v.

Armstrong, 517 U.S. 456, 465 (1996). In this case, the Defendant has offered no evidence that others

similarly situated were not prosecuted and has provided only speculation as to the Government’s

motivations in bringing its case. Therefore, the Court rejects the Defendant’s selective prosecution

claim as baseless.

III.    CONCLUSION

        For the reasons set forth above, Defendant Megan Coffman’s motion to dismiss (DE 115) is

DENIED as follows:

        (1)     Defendant’s claim that the money laundering statutes are void for vagueness as

                applied to her is DENIED AS PREMATURE; and

        (2)     Defendant’s motion is DENIED OUTRIGHT in all other respects.

        Dated this 1st day of November, 2010.




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